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  NS :md
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.      17-80242-CR-ROSENBERG/HUNT


  UNITED STATES OF AMERICA,

  V.

  ALEJANDRO ANDRADE CEDENO,

      Defendant.
 ------------ I

                                   RELEASE OF LIS PENDENS

  GRANTEE(S): Antopinker, LLC, a Florida limited liability company

  TO:      ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER ANY OF THE
           DEFENDANT(S) AND/OR GRANTEE(S) any interest in the real property described
           herein.

           NOTICE IS HEREBY GIVEN, that a Notice of Lis Pendens regarding real property

  located at 12955 SW 68th Avenue, Pinecrest, Florida 33156, filed in proceedings before this Court,

  ECF No. 42, and recorded in Miami-Dade. County, on November 26, 2018, CFN 2018R0713597

  OR Book 31231 , Pages 509-510, giving notice of the pendency of a criminal action in the U.S.

  District Court for the Southern District of Florida entitled United States of America v. Alejandro

  Andrade Cedeno, Case No. 17-80242-Cr-Rosenberg/Hunt, is hereby released and discharged.

           The real property, including all buildings, improvements, fixtures, attachments and
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        easements found therein or thereon, is more particularly described as:

        Lot 18, in Block 4, of Rock Lake, according to the Plat thereof, as recorded
        in Plat Book 65 , at Page 44, of the Public Records of Miami-Dade County,
        Florida.

                                                     Respectfully submitted,

                                                     ARIANA FAJARDO ORSHAN
                                                     UNITED STATES ATTORNEY
                                                     /~·C               •
                                              By:    s/ Halina Sombuntham
                                                     Nalina Sombuntham
                                                     Assistant United States Attorney
                                                     Fla. Bar No. 96139
                                                     99 N.E. 4th Street, 7th Floor
                                                     Miami, Florida 33132-2111
                                                     Telephone: (305) 961-9224
                                                     Facsimile: (305) 530-6166
                                                     nalina.sombuntham2@usdoj.gov



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 21 , 2019, I electronically filed the foregoing

 Release of Lis Pendens with the Clerk of the Court using CM/ECF.

                                              s/Nalina Sombuntham
                                              Nalina Sombuntham
                                              Assistant United States Attorney




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